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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


 SIMRET SEMERE TEKLE,

                       Plaintiff,

                                                   Civil Action No. I:18cv0211 (TSE/JFA)

 NOUF BINT NAYEF ABUL-AZIZ AL
 SAUD,etal.

                        Defendants.



                                              ORDER


        On June 18,2019, District Judge T.S. Ellis, III denied the defendants' motions to set

 aside portions oftwo discovery-related orders entered on May 10 and 17,2019. (Docket no.

 256). In that order, plaintiff's request for attorneys' fees pursuant to Rules 26(c)(3) and 37(a)(5)

 (Docket no. 225 at 12-13) was referred to the undersigned.

        Plaintiff seeks an award for the attorneys' fees and costs incurred in seeking a protective

 order after being served with 1,994 requests for admissions and for the appeal ofthe order

 granting in part plaintiff's motion for a protective order. (Docket no. 225). While plaintiff is

 correct that the serving of almost 2,000 requests for admissions in this case was excessive, the

 fact is that the motion for a protective order was granted in part and denied in part. As explained

 during the hearing on May 17,2019(Docket no. 194), the court did require the plaintiff to

 respond to a significant number ofthe requests for admissions concerning the authenticity of

 certain photographs, videos, and documents. Given that the motion for a protective order was

 granted in part and denied in part and that the defendants made a good-faith argument as to why

 the additional requests for admissions were propounded,the court did not award the plaintiff the
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